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                 UNITED STATES DISTRICT COURT
                    DISTRICT OF NEW JERSEY


  IN RE: JOHNSON & JOHNSON             MDL No. 16-2738 (MAS) (RLS)
  TALCUM POWDER PRODUCTS
  MARKETING, SALES
  PRACTICES, AND PRODUCTS              Motion Day: July 7, 2025
  LIABILITY LITIGATION

  THIS DOCUMENT RELATES TO
  ALL CASES


        MEMORANDUM OF LAW IN SUPPORT OF THE
      PLAINTIFFS’ STEERING COMMITTEE’S MOTION TO
   COMPEL NON-PARTY PLOS’ COMPLIANCE WITH SUBPOENA
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      Pursuant to Federal Rules of Civil Procedure 26 and 45, Plaintiffs, by and

through the Plaintiffs’ Steering Committee (PSC), request that this Court enter an

order compelling non-party Public Library of Science (“PLOS”) to comply with the

subpoena issued by Plaintiffs on March 20, 2024 (Dkt. No. 29773-1).

                                 BACKGROUND
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      On March 20, 2024, the PSC subpoenaed non-party Public Library of Science

(“PLOS”) for information about reviewer comments on an unpublished manuscript

Dr. Ghassan Saed submitted to its journal, PLOS One. See Subpoena attached as

Exhibit A. The subpoena requests the identities of two peer reviewers, the peer

reviewers’ communications with PLOS concerning the manuscript, and any

communications between PLOS and Johnson & Johnson or any Johnson & Johnson

affiliates or subsidiary organization (collectively, “J&J”) regarding the manuscript.

      Plaintiffs seek this information out of necessity. Plaintiffs retained Dr. Saed—

a distinguished researcher and professor with over 140 peer-reviewed publications

on the role of oxidative stress in the pathogenesis of ovarian cancer—to opine on the

molecular basis for the association of talcum powder use and an increased risk of

ovarian cancer. In April 2020, Judge Wolfson ruled that Dr. Saed met Daubert

standards, permitting him to opine that talc use may cause inflammation and

oxidative stress. See In re Johnson & Johnson Talcum Powder Prods. Mktg., Sales

Pracs. and Prods. Liab. Litig., 509 F. Supp. 3d 116, 140 (D.N.J. 2020). After the



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Court’s Daubert ruling, between August 2020 and March 2021, Dr. Saed conducted

additional research related to talcum powder inducing cell transformation. He

submitted his draft manuscript on cell transformation to multiple journals, including

PLOS One, before Minerva Obstetrics and Gynecology ultimately accepted it for

publication.

      Documents related to the draft manuscript, including anonymous PLOS peer

reviewer comments, were later produced (over the PSC’s objections) pursuant to

court order. The documents were initially designated as “attorneys’ eyes only.” The

Special Master reduced the designations to “confidential” in October 2021, and the

“confidential” designations were completely removed by the Special Master in

September 2023 upon motion by J&J. See October 8, 2021, Oral Argument and Oral

Opinion Regarding Defendants’ Application to Strike Confidentiality Designations

of Dr. Ghassan Saed’s Peer Review Documents (“Oct. 8, 2021, Hr’g Tr.”), attached

as Exhibit D; September 25, 2023, Special Master Order No. 16 (Dkt. No. 28194).

In striking the designations, the Special Master held the documents relevant and not

privileged, noting their importance to Dr. Saed’s credibility and J&J’s ability to

cross-examine him and others relying on his work. The Court determined that J&J’s

interests in defending itself and the public’s interests in accessing information

concerning health and welfare outweighed confidentiality concerns, emphasizing

that “the full story” should be told. See September 22, 2023, Hearing on J&J’s



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Application to Strike Confidentiality Designations (“Sept. 22, 2023, Hr’g Tr.”) at

59:12, attached as Exhibit E.

      During the October 8, 2021 and September 22, 2023, oral arguments,

Plaintiffs’ counsel warned that removing confidentiality designations for these

anonymous hearsay comments would create a skewed narrative. See Oct. 8, 2021,

Hr’g Tr. at 40:23–41:23, 60:4–61:5; Sept. 22, 2023, Hr’g Tr. at 40:3–7, 42:20–21.

They argued that anonymous review comments might contain biases, and disclosing

the reviewers’ identities was crucial to evaluate potential conflicts of interest. See

Oct. 8, 2021, Hr’g Tr. at 40:14–20, 59:19–23; Sept. 22, 2023, Hr’g Tr. at 40:3–13,

41:15–21. Plaintiffs cautioned that without this disclosure, Defendants would

selectively use the anonymous hearsay comments to attack Dr. Saed while protecting

the reviewers from scrutiny. See Sept. 22, 2023, Hr’g Tr. 37:16–38:5, 40:14–41:5.

      This concern has become reality. Since removing the confidentiality

designations, Defendants have repeatedly used these anonymous comments to

challenge Plaintiffs’ experts’ work during depositions, trials, and in the public

domain. 1 At present, Plaintiffs are unable to defend against this hearsay, confirming
        P0F   P




the concerns articulated during oral argument that removing confidentiality


1
  For example, counsel for Johnson & Johnson gave presentations both at science
day and in court in which they used the anonymous reviewer comments to discredit
Dr. Saed. See Johnson & Johnson’s Presentation, attached as Exhibit F. Despite the
comments being hearsay from an unidentified source, Plaintiffs have not been able
to exclude the evidence and avoid prejudice.

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designations while simultaneously withholding reviewer identities creates an

incomplete and potentially misleading picture. Compounding this issue, the

comments mirror legal arguments posited by Defendants, leading Plaintiffs to

suspect the anonymous reviewers have ties to Defendants or Defendants’ expert

witnesses.

      PLOS responded to the subpoena, objecting to the production of documents

related to the peer reviewers, questioning the relevance of the requested information,

and claiming protection under “the federal reporters’ privilege and related

constitutional and common law privileges for peer reviews and academic freedom”

as well as “any applicable state shield law” including Cal. Const., Art. I, § 2(b), Cal.

Evid. Code § 1070, and N.J. Stat. Ann. § 2A:84A-21. See Response and Objections

of Non-Party Publisher Public Library of Science to Plaintiffs’ Subpoena for the

Production of Unpublished and Privileged Documents, Information or Objects

(“PLOS Objs.”), attached as Exhibit B. This litigation is of paramount importance

to public health. See Sept. 22, 2023, Hr’g Tr. at 62:12–17. As previously argued by

opposing counsel, “the general public is harmed by the trial of the case in the public

eye when all the information and the true facts are hidden from view. . . sunlight is

the best disinfectant.” See Sept. 22, 2023, Hr’g Tr. at 51:16–22.




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                                    ARGUMENT
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         The Federal Rules of Civil Procedure permit parties to obtain discovery from

non-parties that is relevant to claims or defenses, proportional to the needs of the

case, and not privileged. See Fed. R. Civ. P. 26(b)(1); Fed. R. Civ. P. 45; In re Novo

Nordisk Sec. Litig., 530 F. Supp. 3d 495, 501 (D.N.J. 2021) (“The scope of discovery

pursuant to Rule 45 is the same as Rule 26(b).”). When a non-party serves written

objections to a subpoena, the issuing party may seek compliance by filing a motion

to compel. See Fed. R. Civ. P. 45(d)(2)(B). Ultimately, the Court “has broad

discretion regarding the enforcement of subpoenas.” Tattle Tale Portable Alarm

Sys., Inc. v. Calfee, Halter & Griswold, LLP, Civ. No. 11-7013, 2012 WL 1191214,

at *3 (D.N.J. Apr. 10, 2012) (citation omitted).

         PLOS incorrectly asserts that a motion to compel its compliance with the

subpoena must be filed in the Northern District of California. See PLOS Objs. at 6.

The “overwhelming majority of courts” have decided that MDL transferee courts

are authorized to enforce extra-district subpoenas issued to non-parties. In re: Intel

Corp. Microprocessor Antitrust Litig., No. 05-1717-JJF, 2007 WL 9612142, at *3

(D. Del. May 18, 2007), report and recommendation adopted, No. 05-1717-JJF,

2007 WL 9612141 (D. Del. June 14, 2007); see also U.S. ex rel. Pogue v. Diabetes

Treatment Ctrs. of Am., Inc., 444 F.3d 462, 468–69 (6th Cir. 2006) (concluding that

courts     presiding   over   MDLs      may    rule   on    subpoena-related    motions



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“notwithstanding the nonparty’s physical situs in a foreign district where discovery

is being conducted”); In re Mentor Corp. Obtape Transobturator Sling Prod. Liab.

Litig., No. CIV.A. 09-3073JAP, 2009 WL 3681986, at *2 (D.N.J. Nov. 4, 2009)

(finding that “most courts which have addressed this issue have concluded that

section 1407(b) empowers an MDL transferee court to exercise the powers of any

other district court, including the enforcement of subpoenas”); In re EpiPen Mktg.,

Sales Pracs. and Antitrust Litig., 2018 WL 2926581, *3 (D. Kan. June 11, 2018)

(explaining that section 1407’s “remedial purpose of eliminating the potential for

conflicting contemporaneous pretrial rulings would be frustrated if the MDL court

could not entertain motions to compel [compliance with subpoenas in other

districts].”). This Court can and should compel PLOS to comply with Plaintiffs’

subpoena because it seeks relevant, proportional, and nonprivileged information.

   A. The Discovery Sought is Relevant and Proportional

      The peer reviewers’ identities and communications are highly relevant to

Plaintiffs’ claims and proportional to the needs of the case. Relevance is “liberally

construed to provide for a broad vista of discovery encompassing any matter that

bears on, or that reasonably could lead to other matter that could bear on any issue

that is or may be in the case.’” Lifescan, Inc. v. Smith, Case No. 19-8761-CCC-JSA,

2023 WL 7089665, at *2 (D.N.J. Oct. 25, 2023). While “the standards for nonparty

discovery require a stronger showing of relevance than for simple party discovery,”



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courts in this district have recognized that “[t]his distinction” is of little difference

where, as here, the relevance of the discovery sought is clear. Hancock v. Credit

Pros Int’l Corp., No. 2:20-cv-02826-SRC-CLW, 2021 WL 2948154, at *8 n.16

(D.N.J. July 13, 2021) (citation omitted) (“[T]he [c]ourt sees no reason to conclude

that this information falls within the category of materials sufficiently relevant to

mandate production by a party but not relevant enough to warrant nonparty

production.”).

      Just as the Court found the reviewers’ opinions of the manuscript relevant to

the credibility of Plaintiffs’ experts and Defendants’ ability to challenge the experts’

work, the reviewers’ identities and communications about the manuscript are

relevant to Plaintiffs’ ability to defend against such challenges. See Oct. 8, 2021 Hr’g

Tr. at 42:11–13 (holding that the subject of the manuscript is “clearly and

unquestionably relevant to this case”), 66:11–20 (“the documents are relevant to Dr.

Saed’s credibility and they’re unquestionably germane to defendants’ cross-

examination of Dr. Saed and other experts at trial”); Sept. 22, 2023 Hr’g Tr. at

35:13–36:8 (explaining that the peer review comments are “relevant to the veracity

and credibility and believability” of the study).

      Proportionality is assessed by “considering the importance of the issues at

stake in the action, the amount in controversy, the parties’ relative access to relevant

information, the parties’ resources, the importance of the discovery in resolving the



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issues, and whether the burden or expense of the proposed discovery outweighs its

likely benefit.” Fed. R. Civ. P. 26(b)(1). The discovery Plaintiffs seek from PLOS

meets all proportionality factors.

      This litigation concerns whether talc products cause ovarian cancer—a

question with life-or-death implications for thousands of women. Dr. Saed’s

research is relevant to the scientific question of causation, and his credibility has

become a focal point of the defense strategy. Defendants have repeatedly

weaponized the anonymous out-of-court comments of “supposedly competent peer

reviewers” to discredit Dr. Saed and others relying on his work. See Sept. 22, 2023

Hr’g Tr. at 39:22–40:1. Yet, the reviewers and their comments are shielded from any

scrutiny of potential biases or conflicts of interest. This Court recognized the

importance of “telling the full story” when it removed the confidentiality

designations from the review materials. See Sept. 22, 2023, Hr’g Tr. at 59:12.

Plaintiffs simply seek transparency to complete that story. In opposing Defendants’

initial motion to downgrade confidentiality designations, Plaintiffs’ counsel stated:

“… if we’re going to open this door, then we have to open it all the way and it’s got

to be a two-way street.” See Oct. 8, 2021, Hr’g Tr. at 60:21-23.

      Plaintiffs cannot obtain this information elsewhere. Only PLOS possesses the

identities of these reviewers and communications about the manuscript at issue.

Without this information, Plaintiffs face a profound evidentiary disadvantage, being



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forced to defend against anonymous, out-of-context criticisms with no ability to

examine the source or validity. As reflected by its privilege log, the burden on PLOS

to produce the 18 responsive documents is minimal and PLOS can readily comply

with Plaintiffs’ narrow requests. See PLOS Privilege Log, attached as Exhibit C.

And the benefits of production far outweigh any burden. This discovery directly

addresses the fundamental fairness of these proceedings. It is neither speculative nor

tangential; rather, it is essential to ensuring an accurate and complete evidentiary

record on an important issue. The Court has already recognized the critical

importance of these materials to Dr. Saed’s credibility and J&J’s cross-examination

strategy. These factors overwhelmingly favor disclosure.

   B. The Discovery Sought is Not Privileged

      As the party withholding responsive documents based on claims of privilege,

PLOS “has the burden of clarifying and explaining its objections to provide support

therefor.” Dawson v. Ocean Twp., 2011 WL 890692, at *12 (D.N.J. Mar. 14, 2011);

see also Doe v. Princeton Univ., 2025 WL 388832, at *2 (D.N.J. Feb. 4, 2025) (citing

Fed. R. Civ. P. 26(b)(5)) (“A party withholding information or documents on the

basis of a privilege must expressly assert the claim and describe the basis for so

withholding the information or documents.”). PLOS broadly objects based on its

confidentiality policy, “the federal reporters’ privilege and related constitutional and

common law privileges for peer reviews and academic freedom,” and “any



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applicable state shield law” including Cal. Const., Art. I, § 2(b), Cal. Evid. Code §

1070, and N.J. Stat. Ann. § 2A:84A-21. See generally PLOS Objs. But none of those

bases bar discovery here.

      Under Federal Rule of Evidence 501, “state law governs privilege” here,

where state law claims are at issue. Fed. R. Evid. 501; see also Pearson v. Miller,

211 F.3d 57, 66 (3d Cir. 2000) (“In general, federal privileges apply to federal law

claims, and state privileges apply to claims arising under state laws.”).

      PLOS has not asserted a valid basis for privilege under California law. The

California shield law does not apply through Rule 501 because it does not “govern

privilege.” See New York Times Co. v. Super. Ct., 51 Cal.3d 453, 456 (1990)

(California Supreme Court explicitly holding that “the shield law by its own terms”

is “not a privilege”). “It is well-established that Rule 501 does not look to state law

on nonprivilege immunities even where such protections may be understood

colloquially as ‘privileges.’” Fowler v. Vary, 2022 WL 3211638, at *4 (S.D.N.Y.

Aug. 9, 2022) (finding California shield law not applicable to motion to compel non-

party in federal court because it does not “govern privilege”). And California does

not recognize common law privileges at all . See Roberts v. City of Palmdale, 5 Cal.
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4th 363, 373 (1993) (noting that through Cal. Evid. Code § 911, “the Legislature has

determined that evidentiary privileges shall be available only as defined by statute”).




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      Nor has PLOS asserted a valid basis for privilege under New Jersey law. The

New Jersey shield law does not cover scholarly journals like PLOS. See infra section

B.3. And New Jersey does not recognize common law privileges for peer reviews or

academic freedom. See infra section B.2. Moreover, the cases cited by PLOS do not

support the privileges invoked because they either did not apply any privilege or

rested on a statutory privilege inapplicable here. 2
                                                  P1F




          1. PLOS’s Confidentiality Policy Does Not Operate as a Privilege Or
             Otherwise Prevent Discovery

      PLOS baselessly asserts its own confidentiality policies as a reason to resist

the requested discovery. But “a promise of anonymity or confidentiality by a private

actor does not automatically protect information from disclosure in litigation.” Int’l

Ass’n of Drilling Contractors v. Orion Drilling Co., LLC, 512 S.W.3d 483, 488 (Tex.

App. 2016); see also Shvartser v. Lekser, 270 F. Supp. 3d 96, 98 (D.D.C. 2017)


2
  Gibbons v. GlaxoSmithKline, for example, expressly held “that there is no common
law peer privilege applicable to professional publications like JAMA” and based its
decision on Illinois’s expansive statutory reporter’s privilege, the irrelevance of the
discovery sought to the underlying lawsuit, and the subpoenaing party’s failure to
exhaust other sources of the information instead. 2023 IL App (1st) 221666, ¶ 1 (Oct.
27, 2023). The Bextra & Celebrex court acknowledged the importance of
confidentiality in the peer review process but did not recognize a common law peer
review privilege. In re Bextra & Celebrex Mktg. Sales Pracs. & Prod. Liab. Litig.,
249 F.R.D. 8, 14 (D. Mass. 2008); see also Gibbons, 2023 IL App (1st) 221666 at ¶
31 (rejecting party’s interpretation of the Bextra & Celebrex decision as adopting a
peer review privilege). And, as explained in section C, infra, Dow Chemical Co. v.
Allen, 672 F.2d 1262, 1265–66, 1274 (7th Cir. 1982), and Richards of Rockford, Inc.
v. PG&E Co., 71 F.R.D. 388, 390 (N.D. Cal. 1976), involved Rule 26 balancing tests,
not evidentiary privileges, and are factually distinguishable.

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(holding that a “non-disclosure agreement itself does not confer a legal privilege

from discovery on any documents that were not already privileged.”). Indeed, in

University of Pennsylvania, the Supreme Court refused to recognize any privilege

despite the university’s “express or implied assurances of confidentiality.” Univ. of

Pa. v. E.E.O.C., 493 U.S. 182, 196–198 (1990). Importantly, PLOS’s confidentiality

policy expressly recognizes its limitations. It provides that PLOS may “disclose a

reviewer’s identity under select circumstances, which include . . . situations where

PLOS is required by law to disclose such information (e.g. a subpoena to produce

documents).”        PLOS         One,         Ethical      Publishing       Practice,

https://journals.plos.org/plosone/s/ethical-publishing-practice#loc-confidentiality

(last visited May 19, 2025). Because “‘[c]onfidential’ does not necessarily mean

‘privileged,’” see In re Grand Jury Subpoena Dated Dec. 17, 1996, 148 F.3d 487,

492 (5th Cir. 1998), PLOS cannot rely on its own confidentiality policies to bar the

discovery sought.

         2. No Common Law Peer Review or Academic Freedom Privilege
            Applies

      PLOS invokes nebulous “constitutional and common law privileges for peer

reviews and academic freedom.” See PLOS Objs. at 2. No such privileges bar

discovery here. As this Court already held, “there is no peer review privilege in the

law” applicable to journal publishers. Oct. 8, 2021 Hearing Tr. at 66:11–14; see also

Univ. of Pa., 493 U.S. at 194 (expressly declining to create a federal peer review

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privilege, noting that doing so would open the floodgates to similar claims from

“writers, publishers, musicians, lawyers” and beyond). The New Jersey Supreme

Court has specifically declined to create a qualified privilege for academic peer

review materials. See Dixon v. Rutgers, 110 N.J. 432, 435 (1988) (rejecting request

to create a qualified privilege to protect the confidentiality of academic peer review

materials and instructing trial court to issue appropriate protective orders to limit

access to such materials). Further, the New Jersey and California statutory peer

review privileges apply only to certain healthcare bodies. See N.J. Stat. Ann. §

2A:84A-22.8; Cal. Evid. Code §§ 1156, 1157; Cal. Bus. & Prof. Code §§ 805, 809.

         3. New Jersey’s Shield Law Does Not Protect PLOS

      The only state shield law potentially applicable here is New Jersey’s, see

supra section B, but even this is of no help to PLOS. To be entitled to protection

under N.J.S.A. 2A:84A–21.3(a), PLOS “must make a prima facie showing that (1)

[it] ha[s] the requisite connection with news media, (2) [it] ha[s] the necessary

purpose to gather or disseminate news, and (3) the materials subpoenaed were

obtained in the ordinary course of pursuing professional newsgathering activities.” 3
                                                                                    P2F   P




3
  Even if California’s shield statute did apply (it does not), PLOS would similarly
need to make “a prima facie showing” that the information was obtained “for the
journalistic purpose of communicating information to the public.” Rancho Publ’ns
v. Superior Court, 68 Cal. App. 4th 1538, 1544–46, 81 Cal. Rptr. 2d 274 (1999)
(citing Delaney v. Superior Court, 50 Cal. 3d 785, 798 n.8, 789 P.2d 934, 268 Cal.
Rptr. 753 (1990)). Indeed, California’s shield law applies to persons “connected with
or employed upon” a “newspaper, magazine, or other periodical publication or by a

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Too Much Media, LLC v. Hale, 20 A.3d 364, 382 (2011) (citing N.J.S.A. 2A:84A–

21.3(a)). PLOS has made no such showing here. Instead, PLOS simply makes the

conclusory assertion that disclosure would “violate . . . any applicable state shield

law.” PLOS Objs. at 4. PLOS has not shown, or even attempted to show, that it falls

within the statutory criteria for New Jersey’s shield law. 4
                                                          P3F   P




      This is not surprising, as New Jersey’s shield law does not protect scholarly

journal publishers or their peer reviewers. New Jersey’s “newspaperman’s privilege”

applies to “news media,” which includes “newspapers, magazines, press

associations, news agencies, wire services, radio, television or other similar printed,

photographic, mechanical or electronic means of disseminating news to the general

public.” N.J.S.A. 2A:84A-21 (emphasis added). In its objections, PLOS gave no

examples where courts have extended New Jersey’s shield law to scholarly journals

similar to PLOS. Indeed, there are “only limited occasions in New Jersey where the

privilege ha[s] been successfully invoked by an individual who was not a ‘journalist’



press association or wire service” or “a radio or television station.” Cal. Evid. Code
§ 1070; Cal. Const. art. I, 2(b). Put simply, “[t]he shield law is intended to protect
the gathering and dissemination of news,” O’Grady v. Superior Court, 139 Cal. App.
4th 1423, 1457, 44 Cal. Rptr. 3d 72 (2006) (emphasis in original), not scholarly
research.
4
  To the extent PLOS argues that the discovery sought is protected from disclosure
under the First Amendment, this argument is subsumed in PLOS’s arguments that
New Jersey’s shield laws apply. See Too Much Media, 413 N.J. Super. At 162
(finding “no distinction between the privilege afforded newspersons under N.J.S.A.
2A:84-21 and the First Amendment.”).

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in the traditional sense.” Too Much Media, LLC v. Hale, 993 A.2d 845, 854 (App.

Div. 2010), aff'd and modified, 20 A.3d 364 (2011). None of those cases are

analogous here. 5 As the New Jersey Supreme Court explained, “the Legislature
                P4F   P




requires that other means of disseminating news be ‘similar’ to traditional news

sources to qualify for the law’s coverage.” Too Much Media, LLC, 20 A.3d at 368

(emphasis added) (finding that online message boards are not similar to the types of

news entities listed in N.J.S.A. 2A:84A-21); see also id. at 376 (requiring “some

nexus, relationship, or connection to ‘news media’ as that term is defined” (emphasis

added)).

      Scholarly journals like PLOS differ fundamentally from “news” sources in

purpose, audience, and content. News sources publish information about current

events and general interests for the purpose of informing or entertaining the general

public. See University of Texas Libraries, Characteristics of Popular, Scholarly, and

Trade Sources, https://guides.lib.utexas.edu/popularscholarlytrade (last visited May

9, 2025). In contrast, scholarly journals publish results, reports, and reviews of

research or scholarship with other scholars, researchers, and students in the academic




5
  The only case PLOS cites implicating New Jersey’s shield law is readily
distinguishable from the facts here. In Stephens v. Am. Home Assur. Co., a New York
district court found that insurance reports and other publications from a “financial
news information publisher” fit within the statutory definition of ‘news media’ as
defined by the statute. 1995 WL 230333 at *2, *9 (S.D.N.Y. Apr. 17, 1995).

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community. See id. Scholarly journals do not gather or disseminate news to the

general public as contemplated by N.J.S.A. 2A:84A-21. 6  P5F   P




      While both scholarly journals and news media disseminate information, they

disseminate different types of information, and they do so in fundamentally different

ways and with fundamentally different aims. Journalistic reporting and scholarly

research are not “similar” as plainly required by the statute. In the words of the New

Jersey Supreme Court, “[t]he Legislature is free to expand the law’s coverage as a

matter of policy . . . [it] may choose to reconsider who is a newsperson and add new

criteria to the Shield Law.” Too Much Media, LLC, 20 A.3d at 383. But that is not

the role of the Court. Given the statute’s defined boundaries, the Court should refuse

to extend the shield law’s protection to a clearly non-news source such as PLOS.

    C. There is No Other Basis for Preventing the Discovery Sought

      The few courts that have denied discovery of materials related to academic

peer review or research did so based on a Rule 26 balancing test in circumstances

materially different from those here. See In re Bextra & Celebrex, 249 F.R.D. at 10–


6
  Although some New Jersey courts have not found the scope of the audience
dispositive, see, e.g., In re Napp Techs., Inc. Litig., 768 A.2d 274, 279 (Law. Div.
2000), it is a key distinction between scholarly journals like PLOS One and the
“traditional news sources” embodied in 2A:84A-21.. See Too Much Media, LLC, 20
A.3d at 378 (“To reiterate, although the Shield Law does not limit its application to
traditional news sources, it specifically requires that other means of disseminating
news be ‘similar’ to newspapers, magazines, and the like. We give ‘similar’ its
ordinary, generally accepted meaning: ‘having characteristics in common’ or being
‘alike in substance or essentials.’” (internal citations omitted)).

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13, 12 n.3 (finding privileges invoked by non-party journal “not directly applicable”

and employing Rule 26 balancing test to decide whether to compel journal to turn

over communications with authors); Dow Chemical, 672 F.2d at 1268–1274

(denying discovery under balancing test because the harm to the researchers’

interests in ongoing studies outweighed the subpoenaing party’s minimal relevance

and need); In re Yasmin and Yaz, 2011 WL 5547133, *3 (S.D. Ill. Nov. 15, 2011)

(applying the Seventh Circuit’s Dow Chemical balancing test in denying

pharmaceutical manufacturer’s motion to compel the production of draft

manuscripts and peer review notes); Richards of Rockford, 71 F.R.D. at 390–91

(declining to compel discovery of university research assistant’s confidential

interviews of the defendant’s employees as part of research project about how

utilities make environmental decisions because the information sought could be

obtained through other means and there was no evidence that the plaintiff was

defamed during the interviews, as required to compel disclosure).

      Unlike the cases cited above, this Court has already determined that the

anonymous peer review comments are relevant, not privileged, and important to this

litigation. See Oct. 8, 2021, Hr’g Tr. at 42:11–13, 66:11–20; Sept. 22, 2023, Hr’g

Tr. at 35:13–36:8. The Court specifically found that J&J’s interests in defending

itself and the public’s interests in accessing information concerning health and

welfare outweighed confidentiality concerns. Id. This prior ruling distinguishes this



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instance from those where courts analyzed whether the underlying information

should be produced at all. See generally Bextra and Celebrex, 249 F.R.D. at 10; Dow

Chemical, 672 F.2d at 1265–66; In re Yasmin and Yaz, 2011 WL 5547133 at *2;

Richards of Rockford, 71 F.R.D. at 388. The Court’s directive of “telling the full

story” supports Plaintiffs’ request. Sept. 22, 2023, Hr’g Tr. at 59:12. The reviewers’

identities are the missing component of this story, without which the narrative

remains incomplete and misleading.

      None of the aforementioned cases involved a situation where anonymous

comments were already produced and actively being used to attack an expert’s

credibility while the sources remained shielded from scrutiny. See In re Bextra, 249

F.R.D. at 8 (assessing whether to enforce disclosure of peer review comments,

stating “disclosure of the comments themselves, even without identifying the peer

reviewer by name, may well disclose the reviewer’s identity because in the small

scientific community, an opinion may constitute a recognizable ‘intellectual

signature’”); In re Yasmin and Yaz, 2011 WL 5547133 at *3 (determining whether

to compel disclosure of “peer review comments of published papers”); Richards of

Rockford, 71 F.R.D. at 388. This creates a fundamentally unfair advantage for

Defendants, who can use the criticisms while Plaintiffs remain unable effectively

rebut the criticisms.




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               The nature and severity of the reviewers’ criticisms raise legitimate concerns

about potential conflicts of interest that were not present in any of these cases. Given

that the reviewers’ comments are unusually harsh, strikingly similar to legal

arguments posited by Defendants, and contrary to opinions of other experts in the

field, 7 there is reasonable suspicion that the reviewers may have ties to Defendants
     P6F   P




or their experts.

               Finally, Dow Chemical and Richards of Rockford are inapposite for several

additional reasons. The interests at stake in Dow Chemical were the researchers’

interests in notes, reports, working papers, and raw data relating to ongoing studies.

672 F.2d at 1265–66. The Seventh Circuit affirmed the district court’s use of a Rule

26 balancing test to deny the discovery. Id. at 1274. It identified several reasons why

discovery would be substantially burdensome for the researchers: the subpoena was

so broad that it would require the university to continually update Dow on

“additional useful data” that became available, prematurely disclosing their work

would inhibit their chances of being published by prestigious journals, deprive them

the professional benefits accompanying publication, and chill their interests in




7
 Two recent studies, for instance, are consistent with Dr. Saed’s and his co-authors’
work on malignant transformation. See A. Mandarino et al., The effect of talc
particles on phagocytes in co-culture with ovarian cancer cells, 180 ENV’T RSCH.
(2020) 108676; T. Emi et al., Transcriptomic and epigenomic effects of insoluble
particles on J774 macrophages, 16 EPIGENETICS 1053 (2021).

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academic freedom. The court concluded that the harm to the researchers’ interests

outweighed Dow’s minimal relevance and need.

      Similarly, the Richards of Rockford plaintiff alleged that the defendant, a

utilities company, published defamatory statements intended to harm the plaintiff’s

business. 71 F.R.D. at 389. The plaintiff sought to compel a third-party research

assistant for a university professor to testify and produce documents related to

confidential interviews with the defendant’s employees. The interviews were

conducted as part of a research project on how utilities make environmental

decisions, with the defendant being one of the utilities studied. The plaintiff sought

the identities of the employees interviewed and the substance of their statements.

The court declined to compel the disclosure, emphasizing the importance of

maintaining confidential relationships between academic researchers and their

sources. The court noted that the information sought was largely supplementary and

could be obtained through other means, such as interrogatories directed to the

defendant. Ultimately, the court found that the costs of compelling the discovery

outweighed the plaintiff’s interest in the information.

      The interests at stake in Dow Chemical and Richards of Rockford are not at

stake here. Here, the researcher with an interest in academic freedom is Plaintiffs’

expert, not PLOS. Also, unlike the ongoing research jeopardized in Dow Chemical,

Dr. Saed’s work on malignant transformation, and the highly critical anonymous



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comments of “supposedly competent peer reviewers,” have been published.

Moreover, unlike the findings of minimal relevance and need in Dow Chemical and

Richards of Rockford, the information sought here is highly relevant and Plaintiffs’

have shown compelling need and the inability to obtain the discovery sought from

any other source.

      Ultimately, while the Court is authorized to issue a protective order modifying

or quashing a subpoena that exceeds the bounds of permissible third-party discovery,

it need not here. See Fed. R. Civ. P. 26(c) (authorizing the court to issue a protective

order for good cause); Fed. R. Civ. P. 45(d)(3)(A)–(B) (providing standards for

quashing subpoenas). As explained above, Plaintiffs seek only the relevant,

proportional, and nonprivileged discovery that the Federal Rules authorize. See

section A, infra.

                                   CONCLUSION
                                   U




      For the foregoing reasons, the Court should compel PLOS to comply with

Plaintiffs’ subpoena.

Dated: May 23, 2025                     Respectfully submitted,


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                                        U




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                         CERTIFICATE OF SERVICE

      I hereby certify that on May 23, 2025, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the CM/ECF participants registered to receive services

in this MDL.

                                       Respectfully submitted,

                                       /s/ P. Leigh O’Del        l
                                       P. Leigh O’Dell




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